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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


    United States of America,                         )
                                                      )
                           Plaintiff,                 }
                                                      )
             V.                                       )
                                                      )        Civil Action No. l:19-cv-l 197
    Edward Snowden,                                   j                   O'Grady
                            Defendant,                ^
    and                                               )
                                                      )
    Macmillan Publishing Group,LLC d/b/a              ^
    Henry Holt and Company,et al.,                    )
                            Relief-Defendants.


                           MEMORANDUM OPINION AND ORDER


          This matter comes before the Court on the Plaintiff United States of America's Motion

 for Partial Summary Judgment, as to liability, against Defendant Edward Snowden. Dkt. 21.

 The motion has been fully briefed, and the Court dispensed with oral argument because it would

 not aid in the decisional process.

                                           I. Background

          The United States of America ("the Government") has sued Defendant Edward Snowden

("Snowden"), alleging breach of contract and fiduciary duties. Count I alleges that by

 publishing his book Permanent Record Snowden breached several contracts with and fiduciary

 duties to the United States. Count 2 alleges that Snowden breached contracts with and fiduciary
 duties to the United States when he made certain public speeches or remarks which included

 visual displays. The Government has also named defendants Macmillan Publishing Group, LLC

 d/b/a Henry Holt and Company, Verlagsgruppe Georg von Holtzbrinck GmbH a/k/a Holtzbrinck


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